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                  UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF TEXAS
                      FORT WORTH DIVISION

   CHAMBER OF COMMERCE OF THE
   UNITED STATES OF AMERICA, ET AL.,

        Plaintiffs,

   v.                                                No. 4:24-cv-00213-P

   CONSUMER FINANCIAL PROTECTION
   BUREAU, ET AL.,

        Defendants.
                                    ORDER
      After a review of the record, and in particular the briefing
   surrounding Plaintiffs’ Motion for Preliminary Injunction, the Court has
   concerns regarding whether the Fort Worth Division of the Northern
   District of Texas is the correct venue to hear this lawsuit.

        The Court is weary that there appears to be an attenuated nexus to
   the Fort Worth Division, given only one plaintiff of the six in this matter
   has even a remote tie to the Fort Worth Division.

      Accordingly, the Court finds it necessary to ORDER expedited
   briefing regarding venue. Plaintiffs have until 5:00 p.m. on Thursday,
   March 21, 2024, to explain the case’s connection to the division and how
   the court should weigh the In re Volkswagen private- and public-interest
   factors. See 545 F.3d 304, 315–18 (5th Cir. 2008) (en banc). Defendants
   will have until 5:00 p.m. on Monday, March 25, 2024, to respond.
   The Court will then determine whether, for the convenience of the
   parties and witnesses and in the interest of justice, it should transfer
   the case to a more convenient venue under 28 U.S.C. § 1404.

        In the alternative, the Court welcomes Defendants to file a motion to
   transfer under § 1404. If Defendants so choose, they must notify the
   Court of their intent to file a motion by 5:00 p.m. on Tuesday, March
   19, 2024. They will then have until 5:00 p.m. on Thursday, March
    Second Amended Complaint. ECF No. 18. Having considered the Motion
Caseand applicable docket
     4:24-cv-00213-P      entries,45
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                                       Court03/18/24 the Motion.
                                             GRANTSPage  2 of 2 PageID 351
      SO ORDERED on this 18th day of September 2023.

   21, 2024, to file their motion and accompanying brief. Plaintiffs would
   then have until 5:00 p.m. on Monday, March 25, 2024, to respond.

      SO ORDERED on this 18th day of March 2024.


                        ______________________________________________
                        Mark T. Pittman
                        UNITED STATED DISTRICT JUDGE




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